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                         EXHIBIT 1
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 V.

 MICHAEL T. FLYNN,
                                       Crim. Action No. 17-232      (EGS)
                    Defendant.


                                   ORDER

      For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

      ORDERED that the government's motion to dismiss pursuant to

Rule 48(a), ECF No. 198, is DENIED AS MOOT; and it is further

      ORDERED that the government's consent motion to dismiss

this case as moot, ECF No. 308, is GRANTED; and it is further

      ORDERED that this case is DISMISSED AS MOOT.
      SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           December 8, 2020
         Case
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

               v.
                                                          Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

                           Defendant



                    NOTICE OF EXECUTIVE GRANT OF CLEMENCY AND
                        CONSENT MOTION TO DISMISS AS MOOT

       On November 25, 2020, the President of the United States issued an executive grant of

clemency to Michael T. Flynn. See Attachment. In particular, the President granted General Flynn

"a full and unconditional pardon" for (1) the charge of making false statements to Federal

investigators, in violation of Section 1001, Title 18, United States Code, as charged in the

Information filed in this case (Doc. 1); (2) any and all possible offenses arising from the facts set

forth in the Information and Statement of Offense filed under that docket number or that might

arise, or be charged, claimed, or asserted, in connection with the proceedings under that docket

number (Doc. 4); (3) any and all possible offenses within the investigatory authority or jurisdiction

of the Special Counsel appointed on May 17, 2017, including the initial Appointment Order No.

3915-2017 and subsequent memoranda regarding the Special Counsel1s investigatory authority;

and (4) any and all possible offenses arising out of facts and circumstances known to, identified

by, or in any manner related to the investigation of the Special Counsel, including, but not limited

to, any grand jury proceedings in the United States District Court for the District of Columbia or

the United States District Court for the Eastern District ofVirginia.

        Article II recognizes the power of the President to "grant Reprieves and Pardons for

offenses against the United States, except in Cases of Impeachment." U.S. Const., Art. II, § 2, cl.
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1. The power of pardon conferred by the Constitution upon the President is otherwise unlimited,

and may be exercised at any time afte.r the commission of a crime., either before legal proceedings

are taken or during their pendency, or after conviction and judgment. In re Garland, 71 U.S. 333

(1866).     Criminal contempt is included within the President's power to pardon. Ex Parte

Grossman, 267 U.S. 87, 121-22 (1925).

          Accordingly, the President's pardon, which General Flynn has accepted, moots this case.

United States v. Schaffer, 240 F.3d 35, 38 (D.C. Cir. 2001). The pardon not only encompasses the

Section 1001 charge that is the subject of the government's pending motion to dismiss (Doc. 198),

but also any possible future perjury or contempt charge in connection with General Flynn's sworn

statements and any other possible future charge that this Court or the court-appointed amicus has

suggested might somehow keep this criminal case alive over the government's objection (e.g., a

charge under the Foreign Agents Registration Act, Section 618(a), Title 22, United States Code,

arising out of the facts set forth in the Statement of Offense). In short, the government's prior

motion to dismiss, as well as all other pending motions in this case, are moot in light of the

President's full and unconditional pardon to General Flynn. No further proceedings are necessary

or appropriate, as the Court must immediately dismiss the case with prejudice. Schaffer, 240 F.3d

at 38.




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        Counsel for the government has conferred with counsel for General Flynn. General Flynn

has accepted the President's pardon. Counsel and General Flynn have reviewed and consented to

this filing and its requested relief:


                                                   Respectfully submitted,

                                                   MICHAEL R. SHERWIN
                                                   Acting United States Attorney
                                                   NY Bar No. 4444188

                                                   KENNETH C. KOHL
                                                   Acting Principal Assistant U.S. Attorney

                                                   By: Isl Jocelyn Ballantine
                                                   Jocelyn Ballantine
                                                   Assistant United States Attorney
                                                   CA Bar No. 208267
                                                   555 4th Street NW
                                                   Washington, D.C. 20530

Dated: November 30, 2020
Attachment




                                               3
